         Case 1:14-cv-00181-CWD Document 17 Filed 10/16/14 Page 1 of 2



John R. Goodell (ISB No. 2872)
Racine Olson Nye Budge
& Bailey, Chtd.
101 S. Capitol Street, Suite 300
Boise, ID 83702
Telephone: (208) 395-0011
Facsimile: (208) 433-0167
Email: jrg@racinelaw.net

Attorneys for Defendant Experian
Information Solutions, Inc.


                         THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF IDAHO

KEN D. KUNTZ, individually                      Case No.: 1:14-CV-181-S-CWD

          Plaintiff,
                                                NOTICE OF WITHDRAWAL OF
vs.                                             COUNSEL ADMITTED PRO HAC VICE
                                                ONLY
EXPERIAN INFORMATION SOLUTIONS,
INC.,

         Defendant.




       COMES NOW Defendant Experian Information Solutions, Inc. (“Experian”), by and

through counsel of record, and hereby gives Notice of Withdrawal of Rana Nader, of the firm

Jones Day, as counsel for Experian previously admitted pro hac vice herein.

       John R. Goodell will continue to serve as counsel of record for Experian.




NOTICE OF WITHDRAWAL OF COUNSEL ADMITTED PRO HAC VICE ONLY – Page 1
         Case 1:14-cv-00181-CWD Document 17 Filed 10/16/14 Page 2 of 2



Dated: October 16, 2014                           _/s/_John R. Goodell______________
                                                  By: John R. Goodell

                                                  John R. Goodell (ISB No. 2872)
                                                  Racine Olson Nye Budge
                                                  & Bailey, Chtd.
                                                  101 S. Capitol Street, Suite 300
                                                  Boise, ID 83702
                                                  Telephone: (208) 395-0011
                                                  Facsimile: (208) 433-0167
                                                  Email: jrg@racinelaw.net

                                                  Attorneys for Defendant Experian
                                                  Information Solutions, Inc.


Dated: October 16, 2015                        /s/ Rana Nader__________________
                                               By: Rana Nader
                                               Counsel - Pro Hac Vice
                                               JONES DAY® - One Firm Worldwide℠
                                               3161 Michelson Drive, Suite 800
                                               Irvine, CA 92612
                                               Direct + 1.949.553.7547
                                               Rnader@jonesday.com

                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 16th day of October, 2014, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system. The CM/ECF system will send
notification of such filing to the following:

Charles Johnson
JOHNSON OLSON CHARTERED                                 U.S. Mail
419 West Benton
PO Box 1725                                              Facsimile 208-232-9161
Pocatello, ID 83204-1725
Attorney for Plaintiff, Ken D. Kuntz                     Email cjlaw@cableone.net


                                                      _/s/_John R. Goodell    ________________




NOTICE OF WITHDRAWAL OF COUNSEL ADMITTED PRO HAC VICE ONLY – Page 2
